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       EXHIBIT
                       ''1''
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                     DECLARATION OF SEAN HULL IN SUPPORT
                  OF OBJECTIONS TO CLASS ACTION SETTLEMENT
                    IN RE: CATHODE RAY TUBE (CRT) ANTITRUST
                             LITIGATION, MDL NO. 1917

       Comes now SEAN HULL and states the following under oath and under penalty of

perjury in support of his objection:

       “My name is Sean Hull. I am over the age of eighteen (18) years. I have never

       been convicted of a felony.       I am qualified and competent to make this

       declaration.”

       The facts stated herein are within my personal knowledge.”

       “My address is 7890 Witney Place, Lone Tree, Colorado 80124. My telephone number is

       (303) 927-6561. I am a resident of Lone Tree, Colorado.”

       “I am a person that indirectly purchased for my own use and not for resale a CRT Product

       manufactured or sold by any of the Defendants or their alleged co-conspirators (listed in

       Question 6 of the Class Notice) between March 1, 1995 and November 25, 2007,

       therefore I am a class member.”

       “During the class period I was a resident of California and to the best of my recollection I

       purchased an LG television and computer monitor from Circuit City in Dublin,

       California. Between January 1998 and October 1999, I was a citizen of California

       residing in Daly City, California. Between November 1999 and April 2000, I was a

       citizen of California residing in Lafayette, California. Between May 2000 and December

       2002, I was a citizen of California residing at 4126 Rennelwood Place, Pleasanton,

       California 94566.”

       “I did not make such purchases for resale.”
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  "I am not a Defendant, officer, .director or employee of any Defendant; an entity in which

  any Defendant h.as a controlling interest; or, an affiliate, legal representative, heir or
  assign of any Defendant.''

  "I am not a named co~conspirator, a federal, state or local government entity, a judicial

  officer presiding over this action or member of his/her immediate family and judicial

  staff, or a juror assigned to this action."

  "I am not a resident of Illinois, Oregon and Washington."

  "I have not opred out .o f the Settlement.':

  "I object to the proposed settlement of IN RE: CATHODE RAY TUBE (CRT)

  ANTITRUSI' LITIGATION, .MDL NO. 1917 for the reasons stated in my objection."

  "I declare under penalty of perjury under the laws of the United States of

  America that the foregoing is tl'Ue and correct. Executed this the .6th day of

  October, 2015, at Lone Tree, Colorado."




                                                     Sean Hull




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From: "CRT Indirect Purchaser Claims" < donotreply@crtclajms.com >
Date: Oct 6, 2015 10:37 AM
Subject: Claim Submission Confirmation re: Cathode Ray Tube (CRT) Antitrust
Litigation (MDL 1917)
To: < sxhuii@Qmail.com >
Cc:

Dear Claimant,

The purpose of this email is to confirm that you have successfully filed your CRT
Indirect Purchaser Consumer Claim Form. Below is a copy of your claim submission
responses - please keep a copy of these responses for your records. You will be
contacted by the Settlement Administrator if any additional information or
documentation is required to process or verify your claim.

Please be advised that submission of your claim does not guarantee that
you are eligible for recovery (monetary or otherwise) from this settlement
program. All payments are subject to approval by the United States
District Court for the Northern District of California.
Please do not reply to this message. Replies to this message are routed to an
unmonitored mailbox. If you have any questions or concerns, please contact the
Settlement Administrator by calling (800) 649-0963, or send an email
to info@CRTclaims.com.

Please visit www.CRTclaims.com to stay updated on the latest case news, updates,
and important dates. You may also register to be automatically notified of case
updates           by         submitting         your       email         address
at http://www.crtclajms.com/reQister updates.htm and you can share our website
with others at http://www.crtclajms.com/share.htm .



Sincerely,

Settlement Administrator for the CRT Indirect Purchaser Class Action Settlements



Online Submission Reference #: CRT.2_0nline18169


  Question                  Answer
  1. Did you purchase a
  CRT Product for your
  own use and not for
  resale in the following
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states?



a. Arizona, California,
Florida, Iowa, Kansas,
Maine, Michigan,
                        Yes
Minnesota, Mississippi,
New Mexico, New York,
North Carolina, North
Dakota, South Dakota,
Tennessee, Vermont,
West Virginia,
Wisconsin or the
District of Columbia,
between March 1,
1995, and November
25, 2007
b. Hawaii between June
25, 2002, and            No
November 25, 2007
c. Nebraska between
July 20, 2002, and       No
November 25, 2007
d. Nevada between
February 4, 1999, and    No
November 25, 2007
2. Did you purchase a
CRT Product from a
retail store or someone
other than a Defendant
or an alleged co-
conspirator? For
example, if you
purchased a CRT
television or computer
monitor from a retailer
like Best Buy or a
computer manufacturer
like Dell, then your    Yes
answer should be
"Yes." If you made no
purchases from a
retailer or other
supplier and you only
purchased a CRT
television or computer
monitor directly from a
Defendant or an
alleged co-conspirator,
then your answer
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should be "No."
Standard CRT
Television (screen size     0
less than 30 inches)
Large CRT Television
(screen size 30 inches      1
or larger)
CRT Computer Monitor        1
If you purchased a CRT
Product that was NOT
a Television or
Computer Monitor,
please include below a
description of the Other
CRT Product(s) that
you purchased:
Quantity of Other CRT
Product(s) purchased:
Are you completing this
form on behalf of a     No -I am completing this form for myself.
Class Member?
Please specify your
Representative capacity
(Choose one of the
following).
If you selected "other,"
please specify
Representative
capacity.
To submit a file
(Written Authorization,
Written Verification,
etc.), please select
"Upload a File" below.
To submit a file
(Affidavit of
Entitlement, Death
Certificate, etc), please
select "Upload a File"
below.
Your Entity/Business
Name:
Your Name:
Your Mailing Address:
Your Telephone
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Number (Day):
Your Email Address:
Your Complete Federal
Taxpayer Identification
Number:
Specify one of the
                             Individual
following:
Class Member Name:           Sean Hull
Class Member
Entity/Business Name:
Person to contact if
there are questions
regarding this claim:
                             Street Address: 7890 Witney Place
Class Member Mailing         City: Lone Tree
Address: Number and          State I Province: CO
Street or P.O. Box           Postal I Zip Code: 80124
                             Country: United States
Class Member
Telephone Number             (303) 927-6561
(Day):
Class Member E-mail
                             sxhuii@Qmail,com
Address:
Individuals: Provide the
last 4 digits of the Class
Member's Social
Security Number
Individuals: Provide the
Class Member's Date of 04-20-1966
Birth
Businesses: Provide the
Class Member's Federal
Taxpayer Identification
Number
Businesses: Provide the
Class Member's Date of
Formation or
Incorporation
Certification:               I certify that the foregoing is true and correct.
Signature of Class
Member (Please click
and drag within the
box below to sign the
                             II
form. DO NOT PRINT
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THIS FORM.):
Class Member Name:          Sean Hull
Signature of
Representative (Please
click and drag within
the box below to sign
the form. DO NOT
PRINT THIS FORM.):
Representative Name:
Today's Date:               10-06-2015
Title (if you are filling
out this form for a
business):
Reference Number:           CRT.2_0nlinel8169
